          Case 2:21-cr-00049-WFN         ECF No. 184         filed 01/24/23     PageID.2017 Page 1 of 2

                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON

 UNITED STATES OF AMERICA,                                            Case No.   2:21-CR-0049-WFN-1
                                                                      CRIMINAL MINUTES
                                        Plaintiff,                    DATE:     JANUARY 24, 2023
          -vs-
                                                                      LOCATION: SPOKANE
 RONALD CRAIG ILG,
                                        Defendant.                    SENTENCING HEARING


                                     Hon. Wm. Fremming Nielsen
       Joanna L. Knutson                             Jon T. Burtard                            Allison R. Anderson
      Courtroom Deputy                                Law Clerk                                 Court Reporter
    Richard R. Barker    and    Patrick J. Cashman               Carl J. Oreskovich      and     Andrew M. Wagley
                 Government Counsel                                             Defense Counsel
 United States Probation Officer:       Cassandra M. Lerch

       [ X ] Open Court                        [ ] Chambers                               [ X ] Telecon
Defendant present in custody of United States Marshal with retained counsel.

Initial comments by Court advising he had reviewed all of the filings including the PSR, statements of
witnesses and victims, letters from family and friends, and briefing of counsel.

Court inquired of counsel regarding an issue that arose late yesterday by Government counsel regarding
acceptance of responsibility. Mr. Barker confirmed the Court's statement and addressed the Court regarding
whether Defendant should be given the third point for acceptance of responsibility, arguing against it. Mr.
Oreskovich addressed the Court on the issue of the third point for acceptance of responsibility and the effect
that would have on the 11(c)(1)(C) Plea Agreement. Mr. Oreskovich also addressed the Court on the issue of
whether the letters submitted in the Government's filing yesterday should be stricken.

Court ruled on Defendant's objections as stated on the record. Court confirmed with defense counsel that the
Defendant had the opportunity to review the PSR and further queried Defendant as to whether he had any
objections other than that already discussed; Defendant indicated he did not. Court confirmed with
Government counsel that they had no objections to the PSR. The Court accepted the Presentence Investigation
Report.

Mr. Oreskovich addressed the Court with his recommendation for resolution of this matter. Mr. Barker
addressed the Court with the Government's recommendation in this matter. Court confirmed with Government
counsel that he was making an oral motion to withdraw the one point for acceptance of responsibility; Mr.
Barker indicated that he was.

Victim 1 addressed the Court; Amy Ruben, attorney of Witness 1, read a letter to the Court from Witness 1;
Victim 2's father, Charles Phillips, addressed the Court; and Victim 2 addressed the Court.
Recess:      12:01 p.m. to 12:14 p.m.



 CONVENED: 10:01 A.M.           ADJOURNED:           1:22 P.M.     TIME:      3:08 HR.          CALENDARED       [ N/A ]
        Case 2:21-cr-00049-WFN          ECF No. 184       filed 01/24/23   PageID.2018 Page 2 of 2

United States –vs- Ronald Craig Ilg                                                       January 24, 2023
2:21-CR-0049-WFN-1                                                                        Page 2
Sentencing Hearing

Court confirmed with Mr. Barker that he had completed his presentation. Mr. Barker made an oral motion to
include the no contact order in the judgment with respect to Victims 1 and 2 and Witness 1.

Defendant addressed the Court on his own behalf.

The Court determined the applicable Guideline range and reviewed the 3553 factors. Court GRANTED Mr.
Barker's oral motion to withdraw one point for acceptance of responsibility. Court ACCEPTED the parties'
11(c)(1)(C) Plea Agreement.

Imprisonment:            96 Months Total – 48 Months each on Count 1S and Count 4S to be served
                             CONSECUTIVE to one another with credit for any time served
Supervised Release:        3 Years on each Count CONCURRENT with one another with standard
                             conditions plus special conditions:
                             • No communication or other interaction with Witness 1, Victim 1, or
                                 Victim 2, either directly or through another party without prior permission of
                                 Probation Officer
                             • If you pose a risk to another person or organization, the Probation Officer
                                 may require you to notify that person of the risk
                             • Prohibited from using any software or device designed to hide, alter, or
                                 delete records/logs of your computer use
                             • You must only use your true name and identifiers for purposes of
                                 establishing credit, screen names, utility services, etc.
                             • Mental health evaluation and treatment/counseling, if recommended
                             • Report any and all electronic communication service accounts to Probation
                                 Officer including logins and passwords and report any new accounts or
                                 changes to identifiers and/or passwords
                             • Search of person, vehicle, and residence
                             • Cooperate in the collection of DNA as directed by Probation Officer
Fine:                     $100,000.00 interest waived
Restitution:              $ 25,398.50 Total (Victim #1: $15,600.00; Victim #2: $9,798.50]
Special Assessment:       $    200.00 – Inmate Financial Responsibility Program

Appeal rights waived by Plea Agreement including Defendant's right to file a post-conviction 2255 motion
except one based upon ineffective assistance of counsel.
Defendant ordered to pay restitution in full within ten days.

Court GRANTED Government's oral motion for redaction of names from the transcript of Victim #1,
Victim #2, Witness #1, and any minor names referenced by Defendant. Court also GRANTED Government's
oral motion to dismiss Counts 2, 3, 5, 6, and 7 of the Superseding Indictment.
